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                IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA



PACE-O-MATIC, INC.,
                                             NO. 20-CV-292
                   Plaintiff,
                                             JUDGE WILSON
      v.




ECKERT, SEAMANS, CHERIN &
MELLOTT, LLC, MARK S.
STEWART and KEVIN M.
SKJOLDAL,


                   Defendants.               ELECTRONICALLY FILED



      JOINT MOTION FOR ENTRY OF STIPULATED ORDER



      Plaintiff Pace-O-Matic, Inc. (“POM”) and Defendants, Eckert Seamans


Cherin & Mellott, LLC, Mark S. Stewart and Kevin M. Skjoldal (collectively,


“Eckert”), by and through their respective undersigned counsel, hereby jointly


move for entry of the attached Stipulated Order as an Order of Court and, in


support thereof, aver the following:


      1.     POM and Eckert have agreed to resolve the issues raised in POM’s


pending Motion for Preliminary Injunction and Amended Motion for Preliminary


Injunction (ECF Nos. 12, 13, 157 and 160) pursuant to the terms in the Stipulated


Order attached hereto as Exhibit “A,” subject to approval and entry of the


Stipulated Order as an Order of Court.
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      2.     Accordingly, the parties hereby jointly move for entry of the attached


Stipulated Order as an Order of Court.


      WHEREFORE, POM and Eckert jointly respectfully request that the Court


approve and enter the attached Stipulated Order as an Order of Court.


Respectfully submitted,


/s/ Daniel T. Brier                          /s/ Robert S. Tintner
Daniel T. Brier                              Abraham C. Reich

Donna A. Walsh                               Robert S. Tintner



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Attorneys for Plaintiff,                     Attorneys for Defendants,
Pace-O-Matic, Inc.                           Eckert Seamans Cherin & Mellott, LLC,
                                             Mark S. Stewart and Kevin M. Skjoldal
Dated: January 26, 2022
